Case 1:23-md-03089-BMC Document 73 Filed 01/29/24 Page 1 of 2 PageID #: 332




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

IN RE: ORAL PHENYLEPHRINE MARKETING                    MDL No. 1:23-md-03089-BMC
AND SALES PRACTICES LITIGATION

THIS DOCUMENT RELATES TO:
Sanes et al. v. Bayer Healthcare LLC,                  NOTICE OF APPEARANCE
No. 1:23-cv-09295 (E.D.N.Y.)
Lewis et al. v. Johnson & Johnson Consumer, Inc.,
No. 1:23-cv-09301 (E.D.N.Y.)
Ward et al. v. Johnson & Johnson Consumer, Inc.,
No. 1:23-cv-09302 (E.D.N.Y.)
Lee et al. v. The Proctor & Gamble Company,
No. 1:23-cv-09294 (E.D.N.Y.)
Sygal et al. v. RB Health (US) LLC,
No. 1:23-cv-09292 (E.D.N.Y.)


       PLEASE TAKE NOTICE that the undersigned, Scott G. Braden, of Lynch Carpenter, LLP,

is admitted to practice pro hac vice in this action, is a member in good standing of the bar of the

State of California, has no disciplinary matters pending against him, and hereby appears on behalf

of Plaintiffs Claudette Sanes, Daniel Flick, Janis Zimmerman, Thomas Lewis, Dena Fichot, John

Jeffrey Ward, Ruta Taito, Karen Schwartz, Michael Lee, Toni Heuchan, Jonathan Brandman,

Michelle Garza, Cece Davenport, Randall Sygal, Regina Brookshier, Erzen Krica, Allison

Sammarco, and Hollie Verdi in the above-captioned matter.

Dated: January 29, 2024                       LYNCH CARPENTER, LLP
                                        By: /s/ Scott G. Braden
                                            Scott G. Braden
                                            scott@lcllp.com
                                            1234 Camino del Mar
                                            Del Mar, California 92014
                                            Telephone:      (619) 762-1900
                                            Facsimile:      (724) 656-1556

                                              Attorneys for Plaintiffs

                                                1
Case 1:23-md-03089-BMC Document 73 Filed 01/29/24 Page 2 of 2 PageID #: 333




                               CERTIFICATE OF SERVICE

I hereby certify that on January 29, 2024, I electronically filed the above-referenced document
with the Clerk of the Court using CM/ECF system which will send notification of such filing to
the CM/ECF participants registered to receive service.

Dated: January 29, 2024                     LYNCH CARPENTER, LLP
                                      By: /s/ Scott G. Braden
                                          Scott G. Braden
                                          scott@lcllp.com
                                          1234 Camino del Mar
                                          Del Mar, California 92014
                                          Telephone:      (619) 762-1900
                                          Facsimile:      (724) 656-1556
                                            Attorneys for Plaintiffs




                                              2
